Case 1:23-cv-06414-JGK Document138 Filed 03/25/24 Pagelof2
Case 1:23-cv-06414-JGK Document 133 Filed 03/22/24 Page 1 of 2

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VIA ECF March 22, 2024
The Honorable John G. Koeltl APPLICATION GRANTED
United States District Court SO ORDERED

Southern District of New York

500 Pearl Street KY (fede -

New York, NY 10007 fs 4 by = John G. Keelt, USDA

Re: Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New
York and the Board of Governors of the Federal Reserve System, Case No.
1:23-cv-6414 (JGK)

Dear Judge Koeltl:

I represent Defendant Federal Reserve Bank of New York (the “FRBNY”). I write
pursuant to Section VI.2 of the Court’s Individual Practices to request leave to file under
seal certain information in support of the FRBNY’s motion to dismiss Plaintiff Banco San
Juan Internacional, Inc.’s (“BSJI’) amended complaint, ECF 124. The parties have
conferred and BSJT does not object to this motion.

In particular, the FRBNY seeks permission to file under seal Exhibit F of the
Declaration of Michael M. Brennan, which is an FRBNY memorandum dated March 31,
2023 that assesses the risk posed by BSJI’s access to an FRBNY master account and
financial services. The memorandum contains non-public references to supervisory
information and information specific to BSJI’s customers and customer transaction activity.

The Court previously granted the FRBNY’s request to file this same document under
seal in connection with the FRBNY’s opposition to BSJI's preliminary injunction motion (as
Exhibit N to the August 22, 2023 Declaration of Michael M. Brennan). ECF 60. In making
that request, the FRBNY noted that, among other things, the Court had so-ordered the
sealing of documents filed by BSJI containing similar categories of information, including
information that relates to “personal, financial information concerning BSJI’s customers and
their accounts” and “non-public information exchanged with BSJI’s Supervisor, the Office
of the Commissioner of Financial Institutions of Puerto Rico.” /d@ To maintain consistency
with those prior rulings, the FRBNY seeks permission to file this document under seal once
more.

The Second Circuit has established a three-part test to determine whether documents
may be placed under seal. See City of Providence v. BATS Global Markets, Inc., No. 14-
CV-2811 (IMF), 2022 WL 539438, at * 1 (S.D.N_Y. Feb. 2, 2023) (citing Lugosch v.

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Case 1:23-cv-06414-JGK Document138 Filed 03/25/24 Page 2of2
Case 1:23-cv-06414-JGK Document 133 Filed 03/22/24 Page 2 of 2

Simpson Thacher & Bartlett LLP
The Honorable John G. Koeltl -2- March 22, 2024

Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir. 2006). First, the court must
determine whether the documents are “judicial documents” and that “therefore a common
law presumption of access attaches.” fd. Second, once the court concludes that the
documents are judicial documents and a presumption of access attaches, the court “must
determine the weight of that presumption.” Jd. Third, “the court must balance competing
considerations against the presumption of access, including the danger of impairing law
enforcement or judicial efficiency and the privacy interests of those resisting disclosure.”
Id. (internal quotation marks omitted), To be approved, any redaction or sealing of a court
filing must be narrowly tailored to serve whatever purpose justifies the redaction or sealing
and must otherwise be consistent with the presumption in favor of public access to judicial
documents. See Lugosch, 435 F.3d at 119-120.

Confidential customer information is the type of information that courts have
determined implicates privacy interests of third parties that outweigh the presumption of
access. See, e.g., City of Providence, at *2 (granting motion to seal spreadsheet containing
customer revenue and business development strategy presentation containing confidential
customer information); Tyson Foods, Inc. v. Keystone Foods Holdings, Ltd, No. 1:19-¢v-
010125 (ALC), 2020 WL 5819864, at * 2 (S.D.N.Y Sept. 30, 2020) (granting motion to seal
“eustomer information, including their identities and purchases”); Saint-Jean v. Emigrant
Mortgage Co., No. 11-CV-2122 (SJ), 2016 WL 11430775, at * 4 (E.D.N.Y. May 24, 2016)
(granting motion to redact “customer names, Social Security numbers, loan numbers,
addresses, telephone numbers, loan terms, and/or other information regarding Emigrant’s
customers”), Similarly, Courts have granted motions to seal commercially sensitive
information, which, if disclosed, would cause competitive harm. See, e.g., Rubik’s Brand
Lid. v. Flambeau, Inc., No. 17-CV-6559 (PGG) (KHP), 2021 WL 1085338, at *1 (S.D.N.Y.
Mar. 22, 2021) (granting motion to seal license agreements, invoices, and documents
relating to marketing strategy).

These categories of information are interwoven throughout Exhibit F. Given the
foregoing, and the Court’s prior sealing of the same document, the FRBNY submits that
there is good cause to grant its motion for leave to file under seal.

Respectfully submitted,
/s/ Jonathan K. Youngwood

Jonathan K. Youngwood

ce: Ali Counsel of Record via ECF.

